                                   Case 10-37371                 Doc 775           Filed 07/16/22              Page 1 of 4
                                                              United States Bankruptcy Court
                                                                   District of Maryland
In re:                                                                                                                 Case No. 10-37371-TJC
KH Funding Company                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0416-0                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 14, 2022                                               Form ID: ntcpyrtm                                                         Total Noticed: 16
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 16, 2022:
Recip ID                 Recipient Name and Address
db                     + KH Funding Company, PO Box 281, Millersville, MD 21108-7513
aty                    + Alan Lepene, Thompson Hine LLP, 3900 Key Center, 127 Public Square, Cleveland, OH 44114-1217
aty                    + Bradford J. Sandler, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801-3034
aty                    + Curtis L. Tuggle, Thompson Hine LLP, 3900 Key Center, 127 Public Square, Cleveland, OH 44114-1217
aty                    + Irving Apar, Thompson Hine LLP, 335 Madison Avenue, 12th Floor, New York, NY 10017-4670
aty                    + James E. Van Horn, McGuireWoods LLP, 7 St. Paul Street, Suite 1000, Baltimore, MD 21202-1671
aty                    + Jeffrey M. Axelson, 110 North Washington Street #404, Rockville, MD 20850-2219
aty                    + Kollman & Saucier, PA, The Business Law Building, 1823 York Road, Timonium, MD 21093-5119
aty                    + McGuireWoods LLP, c/o James E. Van Horn, 7 Saint Paul Street, Suite 1000, Baltimore, MD 21202-1671
aty                    + Michael R. Seidl, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801-3034
aty                      Pachulski Stang Ziehl & Jones, LLP, c/o Bradford J. Sandler, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE
                         19899-8705
aty                      Patrick Sibley, Pryor Cashman LLP, 7 Times Square, New York, NY 10036-6569
aty                    + Peter J. Keane, Pachulski StangZiehl & JonesLLP, 919 N. Market Street, 17thFloor, Wilmington, DE 19801-3023
aty                    + Timothy Cairns, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801-3034
aty                      Tina N. Moss, Pryor Cashman LLP, 7 Times Square, New York, NY 10036-6569

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    + Email/Text: lcoppel@gfrlaw.com
                                                                                        Jul 14 2022 19:06:00      Gordon, Feinblatt, Rothman, Hoffberger &
                                                                                                                  Hollander, c/o Lawrence D. Coppel, Esquire, 233
                                                                                                                  East Redwood Street, Baltimore, MD 21202-3332

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty                            21st Century Real Estate Investment Corp, INVALID ADDRESS PROVIDED

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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District/off: 0416-0                                              User: admin                                                            Page 2 of 3
Date Rcvd: Jul 14, 2022                                           Form ID: ntcpyrtm                                                    Total Noticed: 16

Date: Jul 16, 2022                                          Signature:        /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 14, 2022 at the address(es) listed below:
Name                             Email Address
Alfred Lawrence Toombs
                                 ALT@Toombslaw.com ECF@Toombslaw.com

Bizhan Beiramee
                                 bbeiramee@beiramee.com e-filing@beiramee.com

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Bradley J. Swallow
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Curtis L Tuggle
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Thomas Jonathan Kokolis
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US Trustee - Greenbelt
                                 USTPRegion04.GB.ECF@USDOJ.GOV
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District/off: 0416-0                                   User: admin                                  Page 3 of 3
Date Rcvd: Jul 14, 2022                                Form ID: ntcpyrtm                          Total Noticed: 16
William R. Feldman
                          wrflaw@aol.com acurtis@wfeldmanlaw.com


TOTAL: 25
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                        at Greenbelt
                                 In re:    Case No.: 10−37371 − TJC          Chapter: 11

KH Funding Company
Debtor

                    NOTICE OF INCORRECT OR INSUFFICIENT ADDRESS



The Court was notified that mail sent to McGuireWoods LLP was undeliverable and returned by the U.S. Postal
Service due to an incorrect or insufficient address.
Pursuant to Local Bankruptcy Rule 4002−1(a), every debtor must maintain a current address with the Clerk. This
obligation continues until the case is closed.

Pursuant to Local Bankruptcy Rule 9010−2(a), counsel and parties appearing without counsel must file and maintain
a current address and telephone number in every case in which such person appears. This obligation continues until
the case is closed.

Debtor/Creditor is advised that a notice of current address or address change for McGuireWoods LLP must be filed
with the Court within fourteen days (14) of the date of this notice. Failure to correct the address may result in further
action by the Court.




Dated: 7/14/22
                                                             Mark A. Neal, Clerk of Court
                                                             by Deputy Clerk, Adrienne Fernandez
                                                             Team Phone: 410−962−0794




Form ntcpyrtm
